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Attorneys for Defendant, KAI USA Ltd.


                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ALASKA

MITCHELL SEAVEY,                   )
                                   )
                 Plaintiff,        )
                                   )
vs.                                )
                                   )
KAI, USA LTD, d/b/a KERSHAW        )
KNIFE COMPANY; SPORTSMAN’S         )
WAREHOUSE, INC.,                   )
                                   )
                 Defendants.       )    Case No. ________________
                                   )

             NOTICE OF REMOVAL OF CASE FROM STATE COURT
               (SUPERIOR COURT NO. 4BE-11-00513 CIVIL)

      TO THE DISTRICT COURT OF THE UNITED STATES, DISTRICT OF

ALASKA, AND TO PLAINTIFF AND HIS ATTORNEY OF RECORD:

      PLEASE TAKE NOTICE that Defendant, KAI USA Ltd., d/b/a Kershaw

Knife Company (hereinafter “Kershaw”), pursuant to 28 U.S.C. §

1446, and contemporaneous with the filing of this Notice, is

effectuating the removal of the above-referenced action from the

Superior Court of the State of Alaska, Fourth Judicial District, to




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the United States District Court for the District of Alaska.                 The

removal is based on the following grounds:

     1.    On or about December 19, 2011, there was filed in the

Superior Court for the State of Alaska the above-titled action,

Case No. 4BE-11-00513 CI.

     2.    On or about January 9, 2012, the Defendant was served

with a copy of the Complaint, via certified mail, at the corporate

offices of Defendant in Tualatin, Oregon.

     3.    A true and correct copy of the Complaint and Summons and

Judicial   Assignment    are    attached   hereto   as   Exhibit   A   and    is

incorporated by reference herein as though fully set forth.

     4.    The United States District Court has jurisdiction over

the superior court action in this matter, based on diversity of

citizenship of the parties pursuant to 28 U.S.C. § 1332.

     5.     Plaintiff is a resident of Alaska.           On information and

belief, and without conceding same, Plaintiff’s claims exceed

$75,000.   See Complaint at ¶ 1; Prayer for Relief ¶ 1.

     6.    Defendant, Kershaw is a corporation organized under the

laws of the state of Oregon with its principal place of business in

Tualatin, Oregon.     Its corporate citizenship is Oregon.

     7.    Defendant, Sportsman’s Warehouse, Inc., is a corporation

organized under the laws of the state of Utah with its principal

place of business in Midvale, Utah.         Its corporate citizenship is

Utah.

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     8.    This notice of removal is timely filed under 28 U.S.C. §

1446 as it is filed within 30 days of receipt of a copy of the

complaint by Defendant Kershaw, which sets out a claim for relief.

     9.    Defendant Sportsman’s Warehouse, Inc. expressly consents

to this notice of removal.       A copy of Sportsman’s Warehouse, Inc.’s

Written Consent for Removal is attached hereto as Exhibit B.

     10.   In compliance with 28 U.S.C. 1446(d), Kershaw: (i) hereby

gives its written notice to Plaintiff of the removal; and (ii), is

filing the Notice to Superior Court of Filing Notice of Removal

attached   as   Exhibit    C    with    the   clerk   of   the   state   court

contemporaneously with this notice in federal court.

     DATED this 23rd day of January, 2012 at Anchorage, Alaska.

                                   DELANEY WILES, INC.
                                   Attorneys for Defendant
                                   KAI USA Ltd.
                                   d/b/a Kershaw Knife Company

                                       /s/ Cynthia L. Ducey
                                       1007 West 3rd Avenue, Suite 400
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     CERTIFICATE OF SERVICE

I hereby certify that on this
23rd day of January, 2012, a
copy of foregoing document was
served by mail on:

  William H. Ingaldson
  Ingaldson, Maassen & Fitzgerald, P.C.
  813 West 3rd Avenue
  Anchorage, AK 99501

  John J. Tiemessen
  Clapp, Peterson, Tiemessen, Thorsness & Johnson, LLC
  411 Fourth Avenue, Suite 300
  Fairbanks, AK 99701

/s/Cynthia L. Ducey
4814-5856-3086, v.   1




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